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                                                                          IN THE UNITED STATES DISTRICT COURT
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                                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               NUANCE COMMUNICATIONS, INC.,                          No. C 08-2912 JSW (MEJ)
For the Northern District of California




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                                                              Plaintiff(s),                          ORDER CONTINUING HEARING RE
    United States District Court




                                          12                                                         DEFENDANT'S MOTION FOR
                                                 vs.                                                 ATTORNEY'S FEES
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                                               ABBYY SOFTWARE HOUSE, et al.,
                                          14
                                                              Defendant(s).
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                                                       Pending before the Court Defendant Abbyy USA Software's motion for award of attorneys'
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                                               fees and costs, which has been referred to the undersigned magistrate judge for a report and
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                                               recommendation. The Court hereby CONTINUES the hearing on the matter, currently scheduled on
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                                               September 18, to September 25, 2008 at 10:00 a.m. in Courtroom B, 15th Floor, 450 Golden Gate
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                                               Avenue, San Francisco, California.
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                                                       IT IS SO ORDERED.
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                                               Dated: September 8, 2008
                                          24                                                           MARIA-ELENA JAMES
                                                                                                       United States Magistrate Judge
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